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                                 United States District Court
                              for the Northern District of Texas
                                       Dallas    Division

 United States of America
        Plaintiff,                                                Case No. 3:16-CR-00501(1)
v.
                                                                  55159-177
                                                                  Federal Register Number
  Javier Reyes-Segura                   ,
         Defendant.

        ORDER ON MOTION FOR REDUCTION OF SENTENCE PURSUANT TO
        18 U.S.C. § 3582(c)(2) AND AMENDMENTS 821 & 825 TO THE FEDERAL
                                SENTENCING GUIDELINES

Upon motion of the defendant pursuant to 18 U.S.C. § 3582(c)(2) for a reduction in the term of
imprisonment imposed based on the amendment found at:

        ☒               USSG § 4C1.1 Adjustment for Zero-Point Offenders
        ☐               USSG § 4A1.1(d) & (e) Criminal History Status Points

and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C. §
994(u), and having considered such motion, and considering the policy statement set forth at
U.S.S.G. § 1B1.10 and the sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent that
they are applicable, and for the reasons detailed in the Statement of Reasons.

 IT IS ORDERED that the motion is:

☐       GRANTED, and the defendant’s previously imposed sentence of imprisonment of
                         months is reduced to        months. Except as otherwise provided,
        all of provisions of the judgment dated             shall remain in effect.

If the reduced sentence is less than the amount of time the defendant has already served, the sentence is
reduced to the time the defendant has already served in custody (a “Time Served”
sentence). Implementation of the “Time Served” sentence is stayed for 10 days from the date of this order.
☒       DENIED.

Date: May 3, 2024                                 Signed:
                                                             U.S. District Judge

Effective Date:
(If different from order date)
